                                                United States Bankruptcy Court
                                               Northern District of California
 In re:                                                                                                     Case No. 12-56806-SLJ
 Dirk Hughes-Hartogs                                                                                        Chapter 13
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0971-5                  User: kdu                          Page 1 of 2                          Date Rcvd: Oct 26, 2012
                                       Form ID: pdfeo                     Total Noticed: 1


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Oct 28, 2012.
 db            +Dirk Hughes-Hartogs,  PO Box 40,   Morgan Hill, CA 95038-0040

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 NONE.                                                                                       TOTAL: 0

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Oct 28, 2012                                       Signature:




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District/off: 0971-5         User: kdu                    Page 2 of 2                  Date Rcvd: Oct 26, 2012
                             Form ID: pdfeo               Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 26, 2012 at the address(es) listed below:
              Devin Derham-Burk    ctdocs@ch13sj.com
              Office of the U.S. Trustee / SJ   USTPRegion17.SJ.ECF@usdoj.gov, ltroxas@hotmail.com
                                                                                            TOTAL: 2




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                                                   Entered on Docket
                                                   October 26, 2012
                                                   GLORIA L. FRANKLIN, CLERK
                                                   U.S BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF CALIFORNIA




 1   DEVIN DERHAM-BURK
     CHAPTER 13 STANDING TRUSTEE
 2   P O BOX 50013                            The following constitutes
     SAN JOSE, CA 95150-0013                  the order of the court. Signed October 22, 2012
 3
     Telephone: (408) 354-4413
 4   Facsimile: (408) 354-5513
                                              ________________________________________
                                              Stephen L. Johnson
 5   Trustee for Debtor                       U.S. Bankruptcy Judge

 6
 7
 8                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 9                                  SAN JOSE DIVISION
10
11   In Re:                                        )         Chapter 13
                                                   )
12   DIRK HUGHES-HARTOGS                           )         Case No. 12-56806 SLJ
                                                   )
13                                                 )
                                  Debtor           )
14
15                                         FINAL DECREE
16   The estate of the above named Debtor has been fully administered.
17
18   IT IS ORDERED THAT:
19   DEVIN DERHAM-BURK is discharged as Trustee of the estate of the above named Debtor
20   and the bond is canceled.
21
22                                  * * * END OF ORDER * * *
23
24
25
26
27
28
                                                                               12-56806 SLJ - Final Decree


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